73 F.3d 375NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.
    Floyd G. JORDAN, Petitioner,v.UNITED STATES POSTAL SERVICE, Respondent.
    No. 95-3536.
    United States Court of Appeals, Federal Circuit.
    Oct. 19, 1995.
    
      1
      Herbert H. Victor, Chicago, IL.
    
    
      2
      Alice L. Covington, United States Postal Service, Appellate Division, Washington, DC.
    
    
      3
      67 M.S.P.R. 399.
    
    
      4
      REVIEW REINSTATED.
    
    ORDER
    
      5
      Upon consideration of Petitioner's motion to reinstate appeal for failure to prosecute which is not objected to by Respondent, it is hereby ordered that the Petition for Review is hereby reinstated.
    
    
      6
      It is further ordered that Respondent's brief shall be due on or before November 22, 1995.
    
    